      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 1 of 21




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 WILLIAM PLADSON and LEE        *
 MCINTOSH                       *
                                *
 Plaintiffs,                    *                            CIVIL ACTION NO. 2:23-cv-6408
                                *
                                *                            SECTION:
 VERSUS                         *
                                *                            MAGISTRATE JUDGE:
 MICHAEL DEPETRILLO and METEOR, *
 L.L.C.                         *                            JURY TRIAL DEMANDED
                                *
 Defendants.                    *
 ************************ *



                                COMPLAINT FOR DAMAGES


       NOW INTO COURT, through undersigned counsel, come Plaintiffs, William Pladson

(hereinafter referred to as “Bill”) and Lee Mcintosh (hereinafter referred to as “Lee,” and together

with Bill, “Plaintiffs”), who respectfully submit the following Complaint for Damages against

Defendants Michael DePetrillo (hereinafter referred to as “DePetrillo”) and Meteor, L.L.C.

(hereinafter referred to as “Meteor,” and together with DePetrillo, “Defendants”):

                                                 1.

       In this investment fraud action, Plaintiffs seek to recover damages caused by Defendants’ acts

and omissions concerning certain investment securities sold by Defendants to Plaintiffs. As explained

in more detail below, Defendants are liable under various legal theories, including violations of the

Louisiana Securities Law, fraud in the inducement, fraud, detrimental reliance, breach of fiduciary

duty, and gross negligence.




                                                                                                   1
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 2 of 21




                                            PARTIES

                                                   2.

       Plaintiff, William Pladson, is a resident and domiciliary of Fargo, North Dakota.

                                                   3.

       Plaintiff, Lee Mcintosh, is a resident and domiciliary of Fargo, North Dakota.

                                                   4.

       Defendant, Michael DePetrillo, is, upon information and belief, a resident and domiciliary

of New Orleans, Louisiana.

                                                   5.

       Defendant, Meteor, L.L.C., is a Louisiana limited liability company having its principal

place of business in New Orleans, Louisiana. On information and belief, DePetrillo is the sole

owner and member of Meteor. On information and belief, Meteor is also a domiciliary of

Louisiana and is not a domiciliary of North Dakota.

                                JURISDICTION AND VENUE

                                                   6.

       The amount in controversy exceeds $75,000.

                                                   7.

       Thus, this Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(2) based

on diversity of citizenship between the parties.

                                                   8.

       This Court has jurisdiction over the Defendants because they are domiciled in New

Orleans, Louisiana and have sufficient minimum contracts with this District so as to render the




                                                                                                2
          Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 3 of 21




exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

                                                  9.

          Venue is proper in this Court because one or more of the Defendants reside in or maintain

a principal place of business in this District; a substantial portion of the transactions and wrongs

complained of herein were committed and/or occurred in this District; and Defendants have

received substantial compensation and improper benefits in this District by doing business here

and engaging in numerous activities here.

                                   FACTUAL ALLEGATIONS

                                                  10.

          Defendants are in the investment advisory and/or trading business, and they hold

themselves out as experts in the field of investments and trading.

                                                  11.

          On information and belief, DePetrillo and Meteor are not licensed securities salesmen or

dealers in the State of Louisiana, where they reside, or the State of North Dakota, where Plaintiffs

reside.

                                                  12.

          In their ongoing communications with Plaintiffs, Defendants led Plaintiffs to believe that

Defendants had a special expertise in assessing Plaintiffs’ investment needs and the handling of

Plaintiffs’ investment funds. Defendants assured Plaintiffs that Plaintiffs could place their trust

and confidence in Defendants and that Defendants would place Plaintiffs’ interest ahead of

Defendants’ interest.




                                                                                                   3
       Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 4 of 21




                                                  13.

        Defendants knew and understood that Plaintiffs were looking to them for professional

guidance and advice, and Plaintiffs followed Defendants’ recommendations and advice.

                                                  14.

        But Defendants did not put Plaintiffs’ interests ahead of their own. On the contrary,

Defendants put their interest in their own income ahead of Plaintiffs’ interest, and they breached

several duties owed to Plaintiffs.

                                                  15.

        After Plaintiffs were introduced to DePetrillo through a common acquaintance, DePetrillo

advised Plaintiffs that he was an investment professional handling the investment funds for several

other investors (some with whom Plaintiffs were familiar) and that he would like to offer his

services to Plaintiffs as well.

                                                  16.

        DePetrillo worked hard to convince Plaintiffs to purchase interests in his investment fund

(the “Investments”).

                                                  17.

        The Investments were securities but, on information and belief, were not registered with

either the Securities and Exchange Commission or any state securities regulator; and they failed

to qualify for any exemption from registration.

                                                  18.

        To induce Plaintiffs to purchase the Investments, DePetrillo made a number of materially

false and misleading statements to Plaintiffs.




                                                                                                 4
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 5 of 21




                                                 19.

       DePetrillo assured Plaintiffs that he had developed a proven strategy to make money at

very low risk in the foreign exchange and/or derivative markets. He also claimed that he would

use stop-loss orders on all trades to limit any potential downside.

                                                 20.

       Not only that, DePetrillo advised Plaintiffs that there was a monthly loss limit of only 5%.

That is, DePetrillo promised Plaintiffs that they could not lose more than 5% of their investments

over the course of one month.

                                                 21.

       In fact, DePetrillo advised that the worst that he had done in any of the last 8 years was

generate a 40% return for his investors in a given year.

                                                 22.

       DePetrillo advised Plaintiffs that the Investments would provide Plaintiffs with investment

diversification benefits and reduce Plaintiffs’ overall investment risk due to the Investments’ low

correlation to more traditional investments.

                                                 23.

       DePetrillo assured Plaintiffs that he could and would consistently generate positive returns

regardless of general market conditions.

                                                 24.

       DePetrillo also advised Plaintiffs that he worked closely with an unnamed broker who had

agreed to match 20% of their deposits, meaning for every $100 that Plaintiffs invested, they would

receive an additional $20.




                                                                                                 5
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 6 of 21




                                                25.

       DePetrillo also promised Plaintiffs that they could withdraw their investment funds (in

whole or in part) at any time with 4 weeks’ notice.

                                                26.

       Following DePetrillo’s advice and recommendations, Lee initially purchased over

$125,000 in Investments from DePetrillo, including a $50,000 investment made in November 2022

and a $78,748.45 investment made in April 2023.

                                                27.

       Similarly, following DePetrillo’s advice and recommendations, Bill initially purchased

$250,000 in Investments from DePetrillo in March 2023.

                                                28.

       All of the funds for Plaintiffs’ Investments were sent to the account of DePetrillo’s

company, Meteor.

                                                29.

       DePetrillo periodically provided summaries of Plaintiffs’ Investments to Plaintiffs, and

these summaries always showed that Plaintiffs’ Investments, including the supposed matches

provided by DePetrillo’s unnamed broker, had increased in value. That is, the supposed value of

Plaintiffs’ Investments never went down; they only went up.

                                                30.

       By the beginning of May 2023, DePetrillo represented that Bill’s Investments were worth

over $340,000 and that Lee’s Investments were worth over $230,000.




                                                                                             6
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 7 of 21




                                                 31.

       On information and belief, DePetrillo’s summaries included false and materially

misleading figures and were designed to induce Plaintiffs not only to remain in the Investments

but also to purchase additional investments from DePetrillo.

                                                 32.

       DePetrillo later advised Plaintiffs that he had identified some sort of short-term opportunity

for arbitrage in connection with a gold options contract, but he stressed that he needed Plaintiffs’

investment proceeds right away.

                                                 33.

       Lee advised DePetrillo that he did not have any additional funds available to invest, so

DePetrillo advised Lee to withdraw the money from Lee’s individual retirement account (“IRA”)

maintained at Edward Jones.

                                                 34.

       According to DePetrillo, Lee could withdraw the money from his IRA, DePetrillo could

invest the money on a short-term basis, DePetrillo could return the money plus a handsome profit

back to Lee within 60 days, and Lee could then deposit the money back into his IRA and avoid

having to pay any early withdrawal penalties, taxes, or interest.

                                                 35.

       Lee followed DePetrillo’s advice, withdrew $300,000 from his IRA, and invested the

money with DePetrillo. According to DePetrillo, he was going to use $100,000 in connection with

the gold options contract and use the remaining $200,000 on short-term trading.




                                                                                                   7
       Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 8 of 21




                                                  36.

       Bill also provided DePetrillo with an additional $300,000 at this time. DePetrillo advised

Bill that the entire $300,000 would be used in connection with the gold options contract.

                                                  37.

       As was the case with Plaintiffs’ earlier Investments, DePetrillo advised Plaintiffs that their

short-term investment in a gold options contract had been successful. By the end of June 2023,

DePetrillo advised Bill that his investment in the gold options contract was worth approximately

$345,000 and advised Lee that his investment in the gold options contract was worth

approximately $115,000.

                                                  38.

       Lee immediately requested that DePetrillo return the $300,000 that had been withdrawn

from his IRA account so that he could maintain these tax-exempt funds for other investments in

his IRA and avoid any penalties, taxes, and interest associated with an early withdrawal from his

IRA.

                                                  39.

       Bill immediately requested that DePetrillo return the $300,000 plus the profit that he had

supposedly earned on the gold options contract.

                                                  40.

       On June 22, 2023, DePetrillo sent Lee a check for $300,000, and on July 3, 2023, DePetrillo

sent Bill a check for $343,951.64. The checks were issued from DePetrillo’s Meteor account at

Chase Bank.

                                                  41.

       Both of these checks were dishonored for non-sufficient funds (“NSF”).



                                                                                                   8
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 9 of 21




                                                  42.

       DePetrillo later promised Lee that he would reimburse him for all penalties and tax

implications resulting from DePetrillo’s failure to honor his earlier promise to return the $300,000

to Lee’s IRA account within 60 days.

                                                  43.

       DePetrillo continued to provide summaries of Plaintiffs’ Investments to Plaintiffs. As of

DePetrillo’s last updates, Bill’s other Investments were worth approximately $415,000 and Lee’s

Investments were worth approximately $650,000.

                                                  44.

       Both Lee and Bill subsequently requested the return of all of their investment funds from

Defendants. Despite several requests and despite several personal assurances from DePetrillo,

Defendants have not returned any of Plaintiffs’ Investment funds.

                                                  45.

       Instead, DePetrillo has made many, many false assurances and guarantees that the money

would be returned, but his promises never come to fruition. He has even claimed to have wired

certain funds to Plaintiffs at various times, but these wires never appear in Plaintiffs’ accounts.

                                                  46.

       Eventually, DePetrillo stopped returning Plaintiffs’ calls and text messages.

                                                  47.

       Then, at the end of September 2023, Plaintiffs each received mysterious emails from a man

supposedly named “Mark Walton” who purported to be the “new CEO of Meteor.” He claimed

that he was working on some sort of insurance claim relating to Plaintiffs’ investments in the gold

option contract.



                                                                                                      9
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 10 of 21




                                                    48.

          Plaintiffs immediately asked to speak to Mr. Walton. Although Mr. Walton promised to

call “tomorrow,” Plaintiffs have still never heard from him or been able to confirm that he actually

exists.

                                                    49.

          Plaintiffs have since learned that DePetrillo is being sued by, at least, his landlord (for

failing to pay his rent), his credit card company (for failing to pay his bills), and a factoring

company (for defaulting on a contract for the sale of Meteor’s receivables).

                                                    50.

          At this point, Plaintiffs reasonably believe that DePetrillo has been operating a Ponzi

scheme or has otherwise stolen or lost their investment funds and has no intention of returning

them to Plaintiffs.

                                                    51.

          Suffice it to say, had DePetrillo provided them with full and accurate information

regarding, among other things, his supposed investment strategy, the Investments, or Plaintiffs’

ability to recover their funds, Plaintiffs never would have purchased the Investments or invested

in DePetrillo’s supposed gold options contract. Further, Lee never would have withdrawn any

funds from his IRA account and incurred the taxes and penalties associated with the withdrawal.

                                                    52.

          As a result of their unlawful conduct, Defendants are liable to Plaintiffs for the damages that

they have suffered, including, but not limited to, loss of their investment proceeds, loss of profits,

loss of investment opportunities, increased taxes, and other damages.




                                                                                                      10
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 11 of 21




           COUNT I: UNLAWFUL SALE OF UNREGISTERED SECURITIES
               IN VIOLATION OF LOUISIANA SECURITIES LAW

                                                 53.

       Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations

of the Complaint as if pleaded herein, in extenso.

                                                 54.

       Pursuant to the Louisiana Securities Law at La. R.S. 51:705 and 51:712(A), it is unlawful

for any person to offer for sale or sell any securities in Louisiana unless they comply with the

registration requirements of the Louisiana Securities Law, or an exemption to registration applies.

                                                 55.

       Defendants offered for sale unregistered securities and sold such securities to Plaintiffs in

violation of the registration requirements of La. R.S. 51:705, and on information and belief, no

exemption to the registration requirement applies.

                                                 56.

       Defendants are liable to Plaintiffs, pursuant to the Louisiana Securities Law at La. R.S.

51:714, for the unlawful offer and sale of unregistered securities.

                                                 57.

       Pursuant to the Louisiana Securities Law, Defendants are liable to Plaintiff for the

consideration paid for the securities, with interest thereon from the date of payment to the date of

repayment, as computed in La. R.S. 51:714, together with all costs and reasonable attorney’s fees.




                                                                                                     11
        Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 12 of 21




  COUNT II: SALE OF SECURITIES BY UNREGISTERED SECURITIES DEALERS
     AND SALESMAN IN VIOLATION OF LOUISIANA SECURITIES LAW

                                                   58.

         Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.

                                                   59.

         Pursuant to the Louisiana Securities Law at La. R.S. 51:703 and 51:712(A), it is unlawful

for any unregistered dealer or salesman to sell or offer to sell securities, unless an exemption to

registration applies.

                                                   60.

         None of the Defendants were registered to sell or solicit the sales of securities. Despite

lacking required registrations, Defendants solicited, offered and sold securities to Plaintiffs. On

information and belief, Defendants did not qualify for any exemptions to registration.

                                                   61.

         Pursuant to the Louisiana Securities Law, Defendants are liable to Plaintiffs for the

consideration paid for the securities, with interest thereon, from the date of payment down to the

date of repayment as computed in La. R.S. 51:714, together with all costs and reasonable attorney’s

fees.

        COUNT III: SALE OF SECURITIES BY MEANS OF MISREPRESENTATIONS
              AND OMISSIONS OF MATERIAL FACT IN VIOLATION OF
                           LOUISIANA SECURITIES LAW

                                                   62.

         Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.




                                                                                                    12
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 13 of 21




                                                 63.

       Pursuant to the Louisiana Securities Law at La. R.S. 51:712(A), it is unlawful to offer to

sell or to sell a security by means of any oral or written untrue statement of a material fact or any

omission to state a material fact necessary in order to make the statements made, in the light of the

circumstances under which they are made, not misleading.

                                                 64.

       Defendants are liable to Plaintiffs, pursuant to the Louisiana Securities Law, for the sale of

securities to Plaintiffs, and materially aiding the sale of securities to Plaintiffs, based upon

misrepresentations and the omission of material facts by Defendants, including but not limited to:

       a)   Misrepresentations concerning the risks associated with the investments sold by
            DePetrillo;

       b) Misrepresentations concerning the supposed safety of DePetrillo’s trading strategy;

       c)   Misrepresentations concerning DePetrillo’s ability to consistently generate positive
            returns;

       d) Misrepresentations concerning the 20% investment match supposedly provided by
          DePetrillo’s broker;

       e)   Misrepresentations concerning DePetrillo’s past investment performance;

       f)   Misrepresentations concerning the monthly “loss limits” of the investments;

       g) Misrepresentations concerning Plaintiffs’ ability to withdraw their investment funds
          with 4 weeks’ notice;

       h) Misrepresentations concerning DePetrillo’s ability to return Lee’s IRA funds within
          60 days;

       i)   Misrepresentations concerning the amount of other investments managed by
            Defendants;

       j)   Misrepresentations concerning the arbitrage opportunity associated with the gold
            options contract;

       k) Failure to disclose that DePetrillo was operating a Ponzi scheme; and

                                                                                                  13
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 14 of 21




       l)   Failure to disclose that DePetrillo intended to steal, rather than invest, Plaintiffs’
            investment funds.

                                                  65.

       Plaintiffs unquestionably relied on the foregoing misrepresentations and omissions in

making the decision to purchase investments from Defendants.

                                                  66.

       Pursuant to the Louisiana Securities Law, Defendants are liable to Plaintiffs for the

consideration paid for the securities, with interest thereon from the date of payment down to the

date of repayment, as computed in La. R.S. 51:714, together with all costs and reasonable

attorney’s fees.

                         COUNT IV: FRAUD IN THE INDUCEMENT

                                                  67.

       Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.

                                                  68.

       Defendants misrepresented and omitted material facts from Plaintiffs for the purpose of

inducing them to purchase investments from Defendants.

                                                  69.

       Defendants’ investments with Plaintiffs are due to be rescinded because Plaintiffs’ consent

was vitiated.




                                                                                                  14
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 15 of 21




                                                  70.

       Therefore, Plaintiffs were in error as to a principal cause of the investments as a result of

Defendants’ fraudulent misrepresentations and omissions. At a minimum, Plaintiffs’ error

concerned a circumstance that substantially influenced their consent.

                                                  71.

       As a result of Defendants’ fraudulent inducement, Plaintiffs are entitled to rescission of the

contracts with Defendants, as well as damages and attorney’s fees.

                        COUNT V: FRAUD and MISREPRESENTATION

                                                  72.

       Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.

                                                  73.

       As discussed above, Defendants misrepresented and omitted material facts in their

communications with Plaintiffs to obtain an unjust advantage over them and to cause Plaintiffs to

turn over their investment funds to Defendants.

                                                  74.

       Defendants’ misrepresentations and omissions were done with actual malice, with the

intent to mislead Plaintiffs, and with the specific intent to have Plaintiffs rely on said

misrepresentations and omissions. At a minimum, the misrepresentations and omissions were

done recklessly, without knowledge of their truth or falsity.

                                                  75.

       Defendants’ conduct constitutes fraud and misrepresentation; and it has caused significant

damages to Plaintiffs for which Defendants are liable.



                                                                                                  15
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 16 of 21




                           COUNT VI: DETRIMENTAL RELIANCE

                                                  76.

       Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.

                                                  77.

       Defendants are also liable under the law of detrimental reliance, which is designed to

prevent injustice by barring parties from taking a position contrary to their own prior acts,

admissions, representations, or silence.

                                                  78.

       Plaintiffs, to their detriment, relied upon the representations and upon the completeness of

the information that Defendants provided to them. In particular, but not intended to be all-

inclusive, Plaintiffs relied on Defendants’ representations regarding the soundness of Defendants’

investment strategy, the strength and viability of the Investments, the Investments’

appropriateness for Plaintiffs’ funds. Plaintiffs also relied on Defendants’ promises concerning

the investment match, the loss limits, Plaintiffs’ ability to withdraw their funds, and Defendants

ability to return Lee’s IRA funds within 60 days.

                                                  79.

       Plaintiff was reasonable in relying on Defendants’ representations and silence.

                                                  80.

       Because of Defendants’ representations, omissions, and promises, Plaintiffs incurred

significant tax liability and invested significant sums in investments recommended by Defendants

that they would not otherwise have and suffered other damages.




                                                                                                  16
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 17 of 21




                                                    81.

        As a result of Plaintiffs’ justifiable reliance on Defendants’ representations and promises

and as a result of Defendants’ failure to provide critical, accurate information, Plaintiffs incurred

damages for which Defendants are liable.

                         COUNT VII: BREACH OF FIDUCIARY DUTY

                                                    82.

        Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.

                                                    83.

        Defendants acted in a fiduciary capacity as investment advisors and/or traders for Plaintiffs

and owed Plaintiffs fiduciary duties, including, but not limited to: (a) the duty to disclose all

material, known risks in the purchase or sale of a security; (b) the duty to recommend an investment

strategy and specific investment only after studying it sufficiently; (c) the duty not to misrepresent

any fact material to the transaction; (d) the duty to act in the best interests of Plaintiffs; (e) the duty

to provide accurate information about the status and value of Plaintiffs’ investments; and (f) general

duties of fair dealing. Those duties were breached. Plaintiffs placed complete confidence and trust

in Defendants to handle Plaintiffs’ investments, and Defendants breached that trust to the detriment

of Plaintiffs.

                                                    84.

        At all relevant times, a fiduciary relationship existed between Defendants and Plaintiffs by

reason that:

       a)      Defendants at all times possessed superior knowledge, judgment, skill, and
experience in the securities market in contrast to Plaintiffs;




                                                                                                        17
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 18 of 21




        b)    Defendants, at all times, held themselves out as trusted investment advisors and
traders who would always place Plaintiffs’ interest ahead of their own;

       c)      Defendants made investment decisions for Plaintiffs’ investment funds and
accounts, and they acted as Plaintiffs’ agent; and

       d)     Defendants knew that Plaintiffs were relying on them for advisory services and
investment guidance.

                                                  85.

        Defendants’ actions constituted self-dealing, breach of their duty of loyalty, and breach of

trust on the part of a fiduciary.

                                                  86.

        Defendants breached their fiduciary duties through the conduct set forth in detail above and

by placing their interest in their own income over Plaintiffs’ interest in investing in suitable and

appropriate investments and in maximizing the value of their assets as they grew older.

                                                  87.

        Because of the fiduciary relationship between Plaintiffs and Defendants, Plaintiffs

reasonably relied to their detriment on Defendants’ superior knowledge, skill, judgment, and

experience in handling their investment funds.

                                                  88.

        These breaches caused damage to Plaintiffs in an amount to be proven at trial.

              COUNT VIII: NEGLIGENCE AND CROSS NEGLIGENCE

                                                  89.

        Plaintiffs reassert, reaver, and incorporate by reference each of the preceding allegations of

the Complaint as if pleaded herein, in extenso.




                                                                                                   18
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 19 of 21




                                                90.

       As investment advisory and/or trading professionals, Defendants owed Plaintiffs duties of

care to act prudently and to investigate the safety and propriety of the investments they

recommended and sold to Plaintiffs.

                                                91.

       By recommending and selling investments that were fraudulent and/or by squandering or

stealing Plaintiffs’ investment funds, Defendants were grossly negligent and fell far below the

standard of care expected of professionals.

                                                92.

       By reason of Defendants’ negligence, Plaintiffs have been damaged, in an amount to be

proven at trial, including the loss of their investment, and such damages were the direct, natural

and proximate consequence of the Defendants’ negligence.

                                                93.

       Accordingly, Plaintiffs are entitled to an award representing damages resulting from

Defendants’ gross negligence, disgorgement by Defendants of any compensation that they may

have received.

                                                94.

       The services offered by Defendants were intended to gratify non-pecuniary interests

including to help provide peace of mind and security in Plaintiffs’ retirement. By breaching their

duties, Defendants caused Plaintiffs mental anguish, distress, inconvenience, and aggravation for

which they are entitled to recover damages.




                                                                                                19
      Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 20 of 21




                                          JURY DEMAND

                                                   95.

       Plaintiffs demand a jury on any issue properly tried to a jury.

                                  RESERVATION OF RIGHTS

                                                   96.

       There are a great deal of documents and information that are within Defendants’

possession, custody, or control to which Plaintiffs do not have access. Such documents and

information will likely support Plaintiffs’ existing claims and may give rise to additional claims

or theories of liability against Defendants. As such, Plaintiffs reserve the right to assert additional

claims after discovery in this case and reserve the right to seek relief from Defendants under any

other viable legal theory that may be proven by the facts and evidence at trial.

       WHEREFORE, Plaintiffs respectfully request that, after due proceedings are held,

judgment be entered in their favor and against Defendants granting Plaintiffs the following relief:

                (a)     Compensatory, consequential and recessionary damages, including mental
                        anguish, emotional distress, loss of enjoyment and lost opportunity
                        damages, in an amount to be proven at trial;

                (b)     Interest from the date of their investments through the date of repayment;

                (c)     Disgorgement of all fees and compensation earned by Defendants;

                (d)     Attorneys’ fees, interest, and costs; and

                (e)     Such other and further relief as the Court deems just and proper.




                                                                                                     20
Case 2:23-cv-06408-CJB-MBN Document 1 Filed 10/19/23 Page 21 of 21




                              Respectfully Submitted:

                              /s/ Lance C. McCardle
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                                                                         21
